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       1.     During the course of the conspiracies charged herein and at all times relevant to this

Indictment, Defendants (1) SERGIO MENCHACA PIZARRO, AKA “MENCHACA, JR.”

AKA “EL MENCHACA,” AKA “EL ROBIN,”




                                                                                                  (12)

ULISIS OMAR ISLAS-MACIAS, AKA “CLON,” and

        , were members and/or associates of La Linea all of whom engaged and conspired in one

or more of the criminal activities of the cartel described herein.

      2.      La Linea, historically also known as the Juarez Cartel, maintained an especially strong

presence in the State of Chihuahua, Mexico, and the Western District of Texas to include essential

control of the Ojinaga, Chihuahua, Mexico plaza. A “plaza” in criminal cartel terms is a geographic

area, often times adjacent to the border with the United States, that is controlled by a particular

criminal enterprise, in this case, La Linea. The town Ojinaga lies on the border with the United

States directly across from Presidio, Texas which is in the Western District of Texas.

      3.      The La Linea plaza boss for Ojinaga during the majority of the time period covered

by this indictment was (1) SERGIO MENCHACA PIZARRO, AKA “MENCHACA, JR.”

AKA “EL MENCHACA,” AKA “EL ROBIN”.




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             also played a top managerial and organizer role during the time period covered by this

indictment.

       4.      La Linea in Ojinaga maintained a network of criminal conspirators within Mexico who

grew, harvested, purchased, processed, packaged, stored, transported, sold, and distributed large

quantities of marijuana which was ultimately imported and distributed into the United States at various

locations, to include locations within the Western District of Texas. By controlling the Ojinaga plaza,

other organizations would at times pay a fee or “piso” to La Linea in order to bring their marijuana

through the Ojinaga plaza.

       5.      La Linea in Ojinaga maintained and worked with a network of criminal conspirators in

smuggling undocumented aliens to the United States. By controlling the Ojinaga plaza, other

organizations would at times pay a fee or “piso” to La Linea in order to bring through undocumented

aliens on their way to the United States.

       6.      La Linea maintained a network of criminal conspirators who would illegally export from

the United States and transport weapons and ammunition needed to establish and maintain the Cartel’s

drug trafficking and human smuggling activities.

       7.      La Linea maintained a number of armed security forces, otherwise known as “sicarios,”

whose duties were to enforce the orders of the cartel leadership which helped to ensure control of the

plaza for La Linea thus allowing the organization to continue its criminal activities including drug

trafficking and human smuggling. These “sicarios” would use firearms for these purposes.

                                         COUNT ONE
                                  [21 U.S.C. ' 848(a), (b) & (c)]
                                 Continuing Criminal Enterprise

        The Grand Jury re-alleges and incorporates the Introduction as if fully set out herein.




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       Beginning on or about January 1, 2012, and continuing through the return of the date of

this indictment, in the Western District of Texas, the Republic of Mexico and elsewhere,

Defendants,

                    (1) SERGIO MENCHACA PIZARRO,
      AKA “MENCHACA, JR.” AKA “EL MENCHACA,” AKA “EL ROBIN,” and


did knowingly and intentionally engage in a Continuing Criminal Enterprise, in that the

Defendants, knowingly and intentionally violated provisions of Title 21, United States Code,

Sections 841, 846, 952, 960, and 963, which included, but were not limited to the conspiratorial

violations alleged below in this Indictment, to wit: Count Two Conspiracy to Possess with the

Intent to Distribute marijuana; Count Three, Conspiracy to Import marijuana; which Counts are

realleged and incorporated by reference herein as if fully set forth in this Count, and which Counts

were part of a continuing series of violations of the Controlled Substances Act, Title 21, United

States Code, Section 801, et seq., undertaken by the Defendants in concert with at least five other

persons over whom the Defendants both occupied a position of organizer, supervisor and manager

and from which the Defendants obtained substantial income and resources, and both defendant (1)

SERGIO MENCHACA PIZARRO, AKA “MENCHACA, JR.” AKA “EL MENCHACA,”

AKA “EL ROBIN,” and defendant (

acted as one of several principal administrators, organizers and leaders of the enterprise and the

amount of marijuana attributable to both involved at least 300 times the quantity of a substance

described in Title 21, United States Code, subsection 841(b)(1)(B), that is, more than 30,000

kilograms of marijuana, all in violation of Title 21, United States Code, Sections 848(a), (b) & (c).

                                       COUNT TWO
                       [21 U.S.C. §§ 846, 841(a)(1), and (b)(1)(A)(vii)]
                  Conspiracy to Possess with Intent to Distribute Marijuana




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       The Grand Jury re-alleges and incorporates the Introduction as if fully set out herein.

       Beginning on or about January 1, 2008, and continuing through the return of the date of

this indictment, in the Western District of Texas, Republic of Mexico and elsewhere Defendants,

               (1) SERGIO MENCHACA PIZARRO, AKA “MENCHACA, JR.”
                            AKA “EL MENCHACA” AKA “EL ROBIN,”
                       (2) SERGIO MENCHACA SR., AKA “EL SENOR,”
                 (3) ARNALDO RAMOS-HERNANDEZ, AKA “HIPPIE,”
      (4) CARLOS TERRAZAS, AKA “CHARLIE BROWN,” AKA “CAFECITO,”
          (5) SOCORRO RAMIREZ-LUJAN, AKA “COYO,” AKA “COYITO,”
          (6) ARTURO ARMENDARIZ, AKA “CARTUN,” AKA “CARTOON,”
                      (7) EFRAIN SANCHEZ, AKA “CARTUNCITO,”
                  (8) ROBERTO GONZALEZ-HERNANDEZ, AKA “04,”
       (9) EPIFANIO VILLA-PALMA, AKA “LA PEPA,” AKA “LA PERROTA,”
         (10) SERGIO PEDRO MENCHACA, AKA “CHECO,” AKA “PEDRO,”
                    (11) OCTAVIO LUJAN-VALDIVIA, AKA “TAVO,”
                 (12) ULISIS OMAR ISLAS-MACIAS, AKA “CLON,” and
                          (13) ERNESTO YUTZIEL ZUBIA SAENZ,


knowingly, intentionally, and unlawfully conspired, combined, confederated, and agreed together,

and with others to the Grand Jury known and unknown, to commit an offense against the United

States, in violation of Title 21, United States Code, Section 846, that is to say, they conspired to

possess a controlled substance, which offense involved marijuana, a Schedule I Controlled

Substance, with intent to distribute same, contrary to Title 21, United States Code, Section

841(a)(1) in the quantities set forth below:

  QUANTITY OF CONTROLLED SUBSTANCE INVOLVED IN THE CONSPIRACY

       The quantity of the mixture or substance containing marijuana involved in the conspiracy

and attributable to each Defendant as a result of each Defendant’s own conduct and as a result of

the conduct of other conspirators reasonably foreseeable to each Defendant is as follows:

        DEFENDANT                          QUANTITY                        STATUTE
 (1) SERGIO MENCHACA               1000 kilograms or more of a     21 U.S.C. § 841(b)(1)(A)(vii)
 PIZARRO,                          mixture or substance
                                   containing a detectable




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States gives notice to Defendants (1) SERGIO MENCHACA PIZARRO AKA “MENCHACA

JR.” AKA “EL MENCHACA” AKA “EL ROBIN,”




                                                                            (12) ULISIS OMAR

ISLAS-MACIAS AKA “CLON” AND                                                                  , of its

intent to seek the forfeiture of certain property upon conviction and pursuant to Fed. R. Crim. P.

32.2 and Title 21 U.S.C. §§ 848, 853(a)(1) and (2), which state:

       Title 21 U.S.C. § 853. Criminal forfeitures
        (a) Property subject to criminal forfeitures.
        Any person convicted of a violation of this subchapter or subchapter II punishable by
        imprisonment for more than one year shall forfeit to the United States, irrespective of any
        provision of State law.--
           (1) any property constituting, or derived from, any proceeds the person obtained,
           directly or indirectly, as the result of such violation;
           (2) any of the person’s property used, or intended to be used, in any manner or part, to
           commit, or to facilitate the commission of, such violation; . . .
        (B)The Court, in imposing sentence on a person described in subparagraph (A), shall
        order that the person forfeit to the United States all property described in that
        subparagraph.

        Title 21 U.S.C. § 848(a) and (b). Continuing criminal enterprise
         (a)Penalties; Forfeitures
         Any person who engages in a continuing criminal enterprise shall be sentenced to a term
         of imprisonment which may not be less than 20 years and which may be up to life
         imprisonment, to a fine not to exceed the greater of that authorized in accordance with
         the provisions of title 18 or $2,000,000 if the defendant is an individual or $5,000,000 if
         the defendant is other than an individual, and to the forfeiture prescribed in section 853
         of this title; except that if any person engages in such activity after one or more prior
         convictions of him under this section have become final, he shall be sentenced to a term
         of imprisonment which may not be less than 30 years and which may be up to life




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         imprisonment, to a fine not to exceed the greater of twice the amount authorized in
         accordance with the provisions of title 18 or $4,000,000 if the defendant is an individual
         or $10,000,000 if the defendant is other than an individual, and to the forfeiture prescribed
         in section 853 of this title.

                                               II.
                 Transportation of Aliens Violation and Forfeiture Statutes
 [Title 8 U.S.C. §§ 1324(a)(1)(A)(v)(I), (a)(1)(A)(i), (a)(1)(A)(ii), and (a)(1)(B)(i), subject to
     forfeiture pursuant to Title 18 U.S.C. §§ 982(a)(6)(A) and (B) and Title 8 U.S.C. §
       1324(b)(1), made applicable to criminal forfeiture by Title 28 U.S.C. 2461(c)]

        As a result of the foregoing criminal violations set forth in Counts Four and Five, the

United States of America gives notice to Defendants (1) SERGIO MENCHACA PIZARRO

AKA “MENCHACA JR.” AKA “EL MENCHACA” AKA “EL ROBIN,”




                                         (12) ULISIS OMAR ISLAS-MACIAS AKA “CLON,”

AND                                                    , of its intent to seek the forfeiture of certain

property upon conviction and as part of any sentence pursuant to Fed. R. Crim. P. 32.2, Title 18

U.S.C. §21 982(a)(6)(A) and (B) and Title 8 U.S.C. § 1324(b)(1), made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which state, in pertinent part, the following:

        Title 18 U.S.C. § 982. Criminal forfeiture
        (a)(6)(A) The court, in imposing sentence on a person convicted of a violation of, or
        conspiracy to violate, section 274(a) . . . of the Immigration and Nationality Act . . .
        shall order that the person forfeit to the United States, regardless of any provision of
        State law―
         (i) any conveyance, including any vessel, vehicle, or aircraft used in the commission




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         of the offense of which the person is convicted; and
         (ii) any property real or personal―
            (I) that constitutes, or is derived from or is traceable to the proceeds obtained
            directly or indirectly from the commission of the offense of which the person is
            convicted; or
            (II) that is used to facilitate, or is intended to be used to facilitate, the commission
            of the offense of which the person is convicted.
        (B) The Court, in imposing sentence on a person described in subparagraph (A), shall
        order that the person forfeit to the United States all property described in that
        subparagraph.

       Title 8 U.S.C. § 1324. Bringing in and harboring certain aliens
       (b) Seizure and forfeiture.
           (1) In general. Any conveyance…that has been or is being used in the commission of a
           violation of subsection (a), the gross proceeds of such violation, and any property
           traceable to such conveyance or proceeds, shall be seized and subject to forfeiture.
                                               III.
                           Firearm Violation and Forfeiture Statutes
    [Title 18 U.S.C. §§ 924(c) and (o), subject to forfeiture pursuant to Title 18 U.S.C. §
       924(d)(1), made applicable to criminal forfeiture by Title 28 U.S.C. § 2461(c)]

       As a result of the criminal violations set forth in Count Six, the United States gives notice

to Defendants (1) SERGIO MENCHACA PIZARRO AKA “MENCHACA JR.” AKA “EL

MENCHACA” AKA “EL ROBIN,”




           (12) ULISIS OMAR ISLAS-MACIAS AKA “CLON” AND

                              , of its intent to seek the forfeiture of certain property upon conviction

and pursuant to Fed. R. Crim. P. 32.2 and Title 18 U.S.C. § 924(d)(1), made applicable to criminal

forfeiture by Title 28 U.S.C. § 2461(c), which states:




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       Title 18 U.S.C. § 924.
          ***
           (d)(1) Any firearm or ammunition involved in or used in any knowing violation of
           subsection (a)(4), (a)(6), (f), (g), (h), (i), (j), or (k) of section 922, or knowing
           importation or bringing into the United States or any possession thereof any firearm or
           ammunition in violation of section 922(l), or knowing violation of section 924, shall be
           subject to seizure and forfeiture under the provisions of this chapter. . .

       This Notice of Demand for Forfeiture includes but is not limited to the Money Judgment

described in Paragraph IV.

                                             IV.
                                        Money Judgment

       A sum of money that represents the amount of proceeds obtained, directly or indirectly, or

traceable to such property as a result of the violations set forth in Counts One through Five for

which Defendants (1) SERGIO MENCHACA PIZARRO AKA “MENCHACA JR.” AKA

“EL MENCHACA” AKA “EL ROBIN,”




                                                                        AND (12) ULISIS OMAR

ISLAS-MACIAS AKA “CLON” and                                                                        are

individually liable.

                                        Substitute Assets

       If any forfeitable property being subject to forfeiture for the violations set forth above, as

a result of any act or omission of the Defendants:




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        a.     cannot be located upon the exercise of due diligence;
        b.     has been transferred or sold to, or deposited with, a third party;
        c.     has been placed beyond the jurisdiction of the court;
        d.     has been substantially diminished in value; or
        e.     has been commingled with other property which cannot be divided without
               difficulty;



it is the intent of the United States to seek forfeiture of any other property, up to the value of said

money judgment, as substitute assets pursuant to Title 21 U.S.C. § 853(p) and Fed. R. Crim. P.

32.2(e)(1).



                                                          A TRUE BILL.


                                                          FOREPERSON OF THE GRAND JURY



      JAIME ESPARZA
      UNITED STATES ATTORNEY
BY:
      ___________________________
      STEVEN R. SPITZER
      Assistant United States Attorney




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